      Case 2:13-cr-00026-LRS     ECF No. 245    filed 11/04/13   PageID.621 Page 1 of 1




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 5                         UNITED STATES DISTRICT COURT
 6                       FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                      No. CR-13-026-LRS-4

 9                      Plaintiff,                ORDER GRANTING UNOPPOSED
10                                                MOTION TO MODIFY
     vs.
11
12 OSMANY RUIZ LEMAS,
13
                        Defendant.
14
15         Before the Court is Defendant’s unopposed Motion to Modify. Defendant
16   seeks to eliminate the condition of electronic home monitoring or GPS monitoring.
17   The Court having considered the Motion and Declaration of Counsel, and finding
18   neither the United States nor the United States Probation Office oppose removal of
19   electronic home monitoring,
20         IT IS ORDERED that the Defendant’s unopposed Motion to Modify One
21   Release Condition, ECF No. 243, is Granted.           All other release conditions
22   contained in the Order filed March 22, 2013, remain in full effect.
23         DATED November 4, 2013.
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                                     _____________________________________
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                                               JOHN T. RODGERS
26                                    UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
